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The following constitutes the ruling of the court and has the force and effect therein described.




Signed June 15, 2023
______________________________________________________________________




                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION


      In re:                                           §    Case No. 18-30264-SGJ-11
      ACIS CAPITAL MANAGEMENT, L.P.,                   §    Case No. 18-30265-SGJ-11
      ACIS CAPITAL MANAGEMENT GP,                      §
      LLC,                                             §    (Jointly Administered Under Case
                                                       §    No. 18-30264-SGJ-11)
              Debtors.                                 §
                                                       §    Chapter 11

      ACIS CAPITAL MANAGEMENT, L.P.,                   §
      ACIS CAPITAL MANAGEMENT GP,                      §
      LLC, Reorganized Debtors,                        §    Adversary No. 20-03060-SGJ
                                                       §
              Plaintiffs,                              §
                                                       §
      vs.                                              §
                                                       §
      JAMES DONDERO, FRANK                             §
      WATERHOUSE, SCOTT ELLINGTON,                     §
      HUNTER COVITZ, ISAAC LEVENTON,                   §
      JEAN PAUL SEVILLA, THOMAS                        §
      SURGENT, GRANT SCOTT, HEATHER                    §
      BESTWICK, WILLIAM SCOTT, AND                     §
      CLO HOLDCO, LTD.,                                §
                                                       §
              Defendants.                              §
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     ORDER GRANTING ACIS’S MOTION FOR CONTINUANCE BASED ON
   CONTINUING CHALLENGES WITH HIGHLAND DOCUMENT PRODUCTION


       Before the Court is Acis Capital Management, L.P. (“Acis LP”) and Acis Capital

Management GP, LLC’s (“Acis GP” together with Acis LP, the “Reorganized Debtors,”

“Debtors,” “Acis,” or “Plaintiffs”), the Reorganized Debtors in the above-styled and jointly

administered bankruptcy cases (the “Bankruptcy Cases”) and Plaintiffs in the above-styled

adversary proceeding (the “Adversary Proceeding”)’s, Motion for Continuance Based on

Continuing Challenges with Highland Document Production (the “Motion”). Having considered

the briefing, all relevant authority, and the arguments of counsel (if any), the Court finds the

Motion to be meritorious. Accordingly, the Court GRANTS the Motion and ORDERS that these

deadlines shall replace and supersede the deadlines in the current Scheduling Order (Dkt. 102):

   A. TRIAL DOCKET CALL & PRETRIAL CONFERENCE. The docket call for trial in

       this matter will be held on June 10, 2024, at 1:30 PM at 1100 Commerce Street, 14th Floor,

       Courtroom #1, Dallas, Texas 75242. Trial will take place during the week of June 17,

       2024, unless otherwise ordered by the Court.

   B. TRIAL STATUS CONFERENCE. A status conference will be held on April 4, 2024, at

       2:30 PM at 1100 Commerce Street, 14th Floor, Courtroom #1, Dallas, Texas 75242. At

       this status conference, the parties are expected to be prepared to discuss the status of this

       matter as it relates to its progression to trial.

   C. EXPERT DISCLOSURES & REPORTS. By January 15, 2024, each party must

       disclose to the other parties the identity of any witness it may use at trial to present evidence
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      under Federal Rule of Evidence 702, 703, or 705 and provide a report complying with

      Federal Rule of Civil Procedure 26(a)(2)(B).

   D. REBUTTAL EXPERT REPORTS. By February 16, 2024, each party must provide to

      the other parties any written rebuttal expert reports.

   E. FACT DISCOVERY. By March 5, 2024, the parties must have completed all fact

      discovery.

   F. EXPERT DEPOSITIONS. By March 5, 2024, the parties must have completed the

      depositions of all experts.

   G. DISPOSITIVE MOTIONS. By April 1, 2024, the parties must have filed all dispositive

      motions, which must be heard by May 9, 2024.

   H. TRIAL EXHIBITS & TRIAL WITNESSES. By May 21, 2024, the parties must have

      filed a list of trial exhibits and exchanged all such trial exhibits (except for impeachment

      documents and demonstratives) and filed a list of witnesses to be called at trial. Each

      exhibit shall be marked with an exhibit label. By May 28, 2024, the parties, after

      conferring, must file any objections to trial exhibits and trial witnesses. All exhibits not

      objected to in writing by this date will be admitted into evidence at trial without further

      proof. Written objections to exhibits shall be taken up either at the beginning or during trial

      or at the pretrial conference.

   I. PRE-TRIAL MOTIONS. By May 28, 2024, the parties must have filed all pre-trial

      motions, such as motions in limine and motions challenging the admissibility of expert

      testimony.

   J. JOINT PRE-TRIAL ORDER. By May 28, 2024, the parties must have filed a joint pre-

      trial order in compliance with Local District Court Rule 16.4. All counsel are responsible




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       for preparing the Joint Pretrial Order, which shall contain the following: (a) a summary of

       the claims and defenses of each party; (b) a statement of stipulated facts; (c) a list of the

       contested issues of fact; (d) a list of contested issues of law; (e) an estimate of the length

       of trial; (f) a list of additional matters which would aid in the disposition of the case; and

       (g) the signature of each attorney.

       This Order is being entered without prejudice to the rights of the parties to seek to extend

or modify the terms of this Amended Scheduling/Docket Control Order.


                                     # # # End of Order # # #




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Respectfully submitted,

/s/ Joseph Y. Ahmad______
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And

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